                                           Case 4:23-cv-00890-JST Document 9 Filed 03/20/23 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                         NICHOLAS J. WATZKE,
                                   7                                                      Case No. 23-cv-00890-KAW
                                                        Plaintiff,
                                   8
                                                 v.                                       JUDICIAL REFERRAL FOR THE
                                   9                                                      PURPOSES OF DETERMINING
                                         INTERNATIONAL ALLIANCE OF                        RELATIONSHIP
                                  10     THEATRICAL STAGE EMPLOYEES, et
                                         al.,
                                  11
                                                        Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          Pursuant to Civil Local Rule 3-12(c), the above-entitled case is hereby REFERRED to the

                                  14   Honorable Judge Jon S. Tigar for consideration of whether the case is related to Watkze v. Watzke,

                                  15   22-49-JST.

                                  16          IT IS SO ORDERED.

                                  17   Dated: March 20, 2023

                                  18                                                  ______________________________________
                                                                                      KANDIS A. WESTMORE
                                  19                                                  United States Magistrate Judge
                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
